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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



 Cookware Sustainability
 Alliance,                                         Case File No. 25-CV-0041-JRT-DTS

                      Plaintiff,
                                                     DEFENDANT’S MOTION TO
        vs.                                                 DISMISS

 Katrina Kessler, Commissioner,
 Minnesota Pollution Control
 Agency, in her official capacity,

                      Defendant.


       Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Katrina Kessler, Commissioner,

Minnesota Pollution Control Agency, in her official capacity, moves to dismiss the

complaint against her for failure to state a claim upon which relief may be granted.

       The motion is based on all the files, records, and proceedings in this case, including

the Commissioner’s supporting memorandum of law.



                         [SIGNATURE ON FOLLOWING PAGE]
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Dated: March 10, 2025              Respectfully submitted,

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